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                                 No. 23-50632

         In the United States Court of Appeals
                 for the Fifth Circuit
                   United States of America,
                               Plaintiff-Appellee,
                                      v.
        Greg Abbott, in his capacity as Governor
         of the State of Texas; State of Texas,
                             Defendants-Appellants.

              On Appeal from the United States District Court
             for the Western District of Texas, Austin Division

                    BRIEF FOR APPELLANTS


Ken Paxton                                 Lanora C. Pettit
Attorney General of Texas                  Principal Deputy Solicitor General
                                           Lanora.Pettit@oag.texas.gov
Brent Webster
First Assistant Attorney General           Ari Cuenin
                                           Deputy Solicitor General

                                           Coy Allen Westbrook
                                           Assistant Attorney General
Office of the Attorney General
P.O. Box 12548 (MC 059)                    Munera Al-Fuhaid
Austin, Texas 78711-2548                   Assistant Attorney General
Tel.: (512) 936-1700
Fax: (512) 474-2697                        Counsel for Defendants-Appellants
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             Certificate of Interested Persons
                                 No. 23-50632
                         U NITED S TATES OF A MERICA ,
                                        Plaintiff-Appellee,
                                           v.
Greg Abbott, in his capacity as Governor of the State of
                 Texas; State of Texas,
                             Defendants-Appellants.

    Under the fourth sentence of Fifth Circuit Rule 28.2.1, Appellants, as govern-
mental parties, need not furnish a certificate of interested persons.



                                         /s/ Lanora C. Pettit
                                         Lanora C. Pettit
                                         Counsel of Record for
                                         Defendants-Appellants




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           Statement Regarding Oral Argument
    This Court has scheduled oral argument for Thursday, October 5, 2023, at 9:00
A.M. in New Orleans. Defendants-Appellants Governor Abbott and the State of
Texas respectfully submit that oral argument will assist the Court’s review on sev-
eral important constitutional and statutory issues raised in this appeal, including
whether the Rivers and Harbors Appropriation Act of 1899 can be applied here con-
sistent with the Commerce Clause and Texas’s self-defense rights, and whether Sec-

tion 10 of the Act prohibits a floating buoy system deployed by Texas to combat crim-
inal cartels illegally trafficking people, drugs, and guns across the Rio Grande.




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                               Introduction
    No longer the range of isolated “coyotes,” the US-Mexico border is the turf for
multi-billion-dollar transnational criminal organizations. The Biden Administra-
tion’s failure to defend the border has enabled, enriched, and empowered them.
Every day these hostile non-state actors traffic lethal fentanyl, enslaved people, and
untraceable weapons across the Rio Grande into Texas. Border towns must shoulder
an unprecedented humanitarian crisis.

    To protect Texans and migrants alike, Governor Abbott declared a border-secu-
rity disaster in 2021, ROA.1702-05, and launched Operation Lone Star, which has
led to over 447,800 illegal-immigrant apprehensions, 34,200 criminal arrests, 31,200
felony charges, and 428 million lethal doses of fentanyl seized. As part of that mis-
sion, the Governor deployed marine floating barriers to deter illegal crossings in
hotspots along the Rio Grande. The buoys control ingress to the disaster area as au-
thorized by state law. The 1,000-foot-long buoy system at issue here was deployed
in Maverick County near Eagle Pass, Texas, and has nearly eliminated illegal cross-
ings of people and drugs at that hotspot. While the public benefits of these strategi-
cally placed buoys are manifest, their impact on lawful river travel is nonexistent: No
vessels transport commercial goods here, cross-river traffic is illegal, and the law-
enforcement airboats are unimpeded by the buoys.

    Nevertheless, the US insists the buoys violate the Rivers and Harbors Appropri-
ation Act of 1899 (the “Act”) because Texas deployed them without a permit alleg-
edly required from the U.S. Army Corps of Engineers (the “Corps”). It sought a

preliminary injunction forcing the State to remove the buoys and to stop placing new
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ones—all of which would allow untold numbers of cartel agents to ford the Rio
Grande onto Texas soil. That relief is “an extraordinary remedy” indeed. Winter v.
NRDC, 555 U.S. 7, 24 (2008).
    To obtain such relief, the US must show that: it “is likely to succeed on the mer-
its,” it “is likely to suffer irreparable harm in the absence of preliminary relief,” “the

balance of equities tips in [its] favor,” and “an injunction is in the public interest.”
Id. at 20. The US did none of that. It offered no evidence that this stretch of the Rio
Grande is navigable; that the buoys “obstruct” any commercial navigable capacity;
or that the buoys are the kind of “structures” prohibited by the Act. In any event,
Texas has express constitutional authority to defend its territory against the invasion
that Governor Abbott has declared. Courts are therefore duty-bound to read the Act
to avoid hampering Texas’s acknowledged ability to defend itself and its citizens.
    Although the district court refused to let Texas fully develop the record on the
equities and public interest, those factors overwhelmingly favored the State. Texas

was not permitted to ask the US’s witness about “the 2.3 million . . . border encoun-
ters,” the “600,000 . . . got-aways” at the border, “the importation of lethal fenta-
nyl,” “unlawful migration,” or “cartel activity.” Tr. 73-77.1 But no court has dis-

cretion to overlook such evidence; instead it must “pay particular regard for the pub-
lic consequences in employing the extraordinary remedy of injunction.” Winter, 555
U.S. at 24. This Court should reverse.




    1
        The preliminary-injunction hearing transcript is not yet in the record.

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                    Statement of Jurisdiction
    The district court had jurisdiction under 28 U.S.C. §§ 1331, 1345. This appeal
was timely filed the day the injunction was entered, giving this Court jurisdiction
under 28 U.S.C. § 1292(a)(1).

                            Issues Presented
    1.   The district court acknowledged that the Act is grounded on the Commerce
         Clause and that Texas has independent authority to repel an invasion under

         the Invasion Clauses. The only “commercial” activity at the contested
         stretch of the Rio Grande is illicit bank-to-bank smuggling; Texas’s buoy
         system does not “obstruct” navigation up- or down-river; and federal law
         and treaties require deploying buoys. Is the US likely to prove a violation of
         the Act, and can it do so without any commercial nexus and while thrusting
         the courts into an “invasion” question the US concedes is nonjusticiable?

    2. In Winter v. NRDC, 555 U.S. 7 (2008), the Supreme Court announced a
         familiar four-part test for obtaining a preliminary injunction. Is the US
         uniquely exempt from satisfying the second, third, and fourth Winter ele-
         ments anytime it seeks to enforce “a public interest statute”?
    3. Everyone agrees the district court’s injunction allows Texas to keep its buoy
         system in the Rio Grande. Was it proper to award extraordinary relief where

         the alleged injury need not (and will not) be urgently redressed?




                                          3
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                        Statement of the Case

I. Facing an Unprecedented Influx of Hostile Actors, Texas Deploys
   Buoys in One of the Rio Grande’s Criminal Hotspots.
    A crisis of human trafficking, drug smuggling, and terrorist infiltration exists
along Texas’s 1,200-mile border with Mexico. For three years, the number of aliens
illegally crossing the southern border has ballooned. U.S. Customs and Border Pro-
tection (“CBP”) encountered about 458,000 aliens at the border in FY2020, 1.7 mil-
lion in FY2021, and 2.4 million in FY2022. ROA.1516. So far in FY2023, CBP has
already encountered nearly 1.8 million. ROA.1572. Those numbers omit individuals

detected as making an illegal entry but neither found nor apprehended (there were
more than 600,000 in FY2022) and the “unknown number of migrants who evade
detection” entirely. ROA.1520.
    Both Texas citizens and migrants themselves—many unaccompanied minors—
are often at the mercy of transnational criminal cartels that see smuggling as good
business. Todd Bensman, Overrun: How Joe Biden Unleashed the Greatest Border
Crisis in U.S. History 29-32, 193 (2023). This year alone, CBP has seized over
22,000 pounds of fentanyl—a synthetic opioid that is lethal at 2mg doses and is the
leading cause of death for Americans under 50. ROA.1580-82. But “[f]or the first

time in history, the cartel proceeds from human smuggling [may] have surpassed
those from drug smuggling.” Bensman, supra, at 41. Even the New York Times rec-
ognizes that trafficking across the southern border has changed “from a scattered
network of freelance ‘coyotes’ to a multi-billion-dollar international business con-
trolled by organized crime, some of Mexico’s most violent drug cartels.” Miriam



                                         4
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Jordan, Smuggling Migrants at the Border Now a Billion-Dollar Business, N.Y. Times
(July 25, 2022), https://tinyurl.com/442zeau7. Meanwhile, in FY2022 the number
of border apprehensions of individuals on the FBI’s terrorist watchlist was “500 per-
cent more than in the prior five years combined.” Bensman, supra, at 255-56 (emphasis
added); see also id. at 258-64.

    Other perils exist for individuals attempting to illegally cross the border. A rec-
ord high of 853 illegal immigrants died crossing it between October 2021 and October
2022. ROA.1712-18. A United Nations agency has declared the US-Mexico border
the deadliest land crossing in the world. ROA.1690-94.
    In 2021, Governor Abbott declared a border-security disaster and launched Op-
eration Lone Star to mitigate the effects of this unprecedented crisis. As part of that
initiative, the Governor has:

        • detailed law-enforcement officers to plug border staffing gaps;

        • heightened vehicle inspections by the Department of Public Safety;

        • bused aliens to sanctuary cities in other States, which now recognize the
          southern border poses a national problem;

        • constructed miles of border wall after the US ceased construction;

        • invoked the Texas Disaster Act to enhance penalties for criminal trespass
          on private land;

        • designated transnational criminal cartels smuggling drugs, people, and
          weapons into Texas as foreign terrorist organizations; and

        • invoked the Invasion Clauses of the U.S. Constitution, ROA.57-59.




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These efforts have “led to over 477,800 illegal immigrant apprehensions,” “more
than 34,200 criminal arrests, with more than 31,200 felony charges reported,” and
“over 428 million lethal doses of fentanyl” seized. Press Release, Office of Tex. Gov.
(Sept. 15, 2023), https://tinyurl.com/4274pwhs. “Every individual who is appre-
hended or arrested and every ounce of drugs seized would have otherwise made their

way into communities across Texas and the nation.” Id.
    In addition to those historic initiatives, Governor Abbott also “announced the
deployment of new marine floating barriers to deter illegal crossings in hotspots
along the Rio Grande River.” Press Release, Office of Tex. Gov. (June 8, 2023),
https://tinyurl.com/y9sp5y4t. The buoys were originally designed for CBP,
ROA.1284, as part of a broader strategy to construct physical barriers in the Del Rio
Sector, see ROA.652-54. Maverick County—which includes Eagle Pass, Texas—has
been particularly affected by the crisis, see ROA.651-54, representing nearly 25% of
all CBP encounters in June 2023, ROA.656, 658. Seizures there of cocaine, metham-

phetamine, heroin, fentanyl, and marijuana increased by 7% in June 2023 and 9% in
July 2023. ROA.1764.
    Given Eagle Pass’s status as one of the most active criminal hotspots along the

Rio Grande—and the documented ability of transnational criminal cartels to circum-
vent other obstacles, ROA.652-54—the Governor deployed buoys near the city in
mid-July 2023 under his authority to control ingress to a disaster area. Tex. Gov’t

Code § 418.018(c). The buoys are deployed in a 1,000-foot segment of the Rio
Grande that is shallow but inconsistent in depth and riddled with sandbars, small
islands, large rocks, natural and man-made debris, and sandy shoals. ROA.320, 407,

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448. The river segment is about 200 feet wide, ROA.321, 327, and when it isn’t dry,
it is often ankle-to-knee deep and never more than four feet deep near the buoys.
ROA.327.
    Although cartels are active in the area, ROA.325, there is no lawful commercial
transportation, ROA.1275. Law-enforcement agencies use shallow-draft airboats,

ROA.320-21, incapable of bearing commercial goods, ROA.320-21, 327. Natural
conditions make it practically impossible for larger vessels—e.g., barges, fishing
boats, cargo ships, tankers, or other commercial vessels—to operate. ROA.321, 327.
Instead, this segment of the river sees mostly illegal activities, like smuggling drugs
and weapons, human trafficking, and illegal immigration. ROA.1273, 1275-76.
    The buoy system comprises multiple interconnected buoys tethered via chains
to concrete blocks placed on the riverbed, ROA.326, 1284-85, and is connected to a
two-foot-deep stainless-steel anti-dive net, ROA.1285. Designed to be temporary,
the system is not attached or affixed to the riverbed, ROA.326, 1285, but may be

dismantled and redeployed by moving the concrete blocks, ROA.1284-85. The
blocks, however, will remain where they are placed. Tr. 102-03. And because the
buoys were placed parallel to the river’s flow, ROA.1393, they allow the free move-

ment of water and do not interfere with watercraft traveling along the river,
ROA.321-27, 1285-86. The buoys occupy approximately 3% of the stream’s width
and were placed on the shallower, Texas side. ROA.321, 327, 1285. Any vessel capa-

ble of navigating at the site can easily avoid them. ROA.327. Law-enforcement air-
boats readily maneuver around the buoys. ROA.321-22.



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    The buoys are well-marked, colorful, and under uninterrupted surveillance by
law-enforcement personnel, ROA.321-22, 327-28, including for debris accumula-
tion, ROA.1285. No one has attempted to climb over the buoys, and no injuries or
deaths due to the buoys have been reported. ROA.327-28. Indeed, the buoys save
lives by directing aliens to ports of entry at bridges while deterring unlawful, danger-

ous water crossings. ROA.326-28, 1284.

II. Not Content to Abandon the Border, the US Sues to Undercut Texas’s
    Efforts to Backfill Federal Inaction.
    Federal law assigns the US certain duties that would help restrain the sudden
sweep of crime and violence at the southern border. Immigration statutes obligate
the federal government to: detain certain aliens pending removal proceedings,
8 U.S.C. § 1225(b)(2)(A); share investigative resources with state and local authori-
ties to aid them in identifying aggravated felons, id. § 1226(d)(1); apprehend and de-

port aliens within 90 days of being finally ordered removed, id. § 1231(a)(1)(A); and
enforce “the immigration laws of the United States . . . vigorously and uniformly,”
IRCA § 115, 100 Stat. 3384, Pub. L. No. 99-603. More fundamentally, the Constitu-
tion obliges the US to “protect each [State] against Invasion,” U.S. Const. art. IV,
§ 4, including any that might result “by the accession of alien residents,” 3 Joseph
Story, Commentaries on the Constitution of the United States § 1815 (1833) (quoting

The Federalist No. 43).
    In recent years, the US has ignored these obligations, claiming its laissez-faire
turn is merely the consequence of scarce federal resources. For example, when con-

stricting the authority of ICE employees to arrest and deport aliens, the US stated


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“ICE operates in an environment of limited resources. Due to these limited re-
sources, ICE has always prioritized, and necessarily must prioritize, certain enforce-
ment and removal actions over others.” Memorandum from Acting Director, U.S.
Immigration & Customs Enforcement, Dep’t of Homeland Security (Feb. 18, 2021),
https://tinyurl.com/fu6h7epf. It told the Supreme Court the same thing when de-

fending its decision to abandon the “Remain in Mexico” program: “Congress has
not provided DHS with sufficient appropriations to detain all the noncitizens” that
federal law requires. Brief for US at 5, Biden v. Texas, No. 21-954. So, the Secretary
of Homeland Security abandoned the program based on “the extent of agency per-
sonnel and resources required to implement” it. Id. at 9; see also id. at 4, 13, 16, 29-
30; Biden v. Texas, 142 S. Ct. 2528, 2543 (2022).
    Operation Lone Star has filled the gap left by the US’s dereliction of duty: It
takes lawful steps to protect Texas, its residents, and Americans everywhere from
the sudden influx of hostile non-state actors. See Plyler v. Doe, 457 U.S. 202, 228 n.23

(1982). And there is no doubt the buoys have slowed the flood of criminal activity.
    Given the federal government’s representations that it would secure the border
if only it could, the US should not object to Texas’s picking up some of the slack. Yet

it has, making clear by this lawsuit that “the need to allocate ‘scarce enforcement
resources,’ . . . is not the problem here.” Arizona v. United States, 567 U.S. 387, 434-
35 (2012) (Scalia, J., concurring in part and dissenting in part). The Biden Admin-

istration has simply settled on “priorities or preferences” that encourage illegal im-
migration, irrespective of its calamitous consequences and infidelity to “the Laws of
the United States.” Kansas v. Garcia, 140 S. Ct. 791, 806-07 (2020).

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III. The District Court Grants a Preliminary Injunction After the US Mis-
     represents the Nature of Texas’s Buoy System.
    The US claimed that this shallow stretch of the Rio Grande is “navigable” and
that the narrow buoy system stretching down the center of the river is a prohibited

“obstruction” or “structure[]” under Section 10 of the Act, 33 U.S.C. § 403.
ROA.15. It sought a preliminary injunction mandating removal of the existing buoys
and prohibiting Texas from deploying more. ROA.67. It argued the buoys were in

“navigable waters” (and thus subject to Corps jurisdiction) because Maverick
County is within a 300-river-mile stretch the Corps declared navigable almost 50 years
ago. ROA.72-73, 1085. The US next argued the buoys obstructed the river’s “navi-

gable capacity,” or were “booms” or “other structures” built without a permit, in
violation of Section 10 of the Act. ROA.917-19. Texas timely opposed. ROA.288-317.
It countered that the court must find navigability based on evidence, not self-serving
jurisdictional assertions. And it argued the US was unlikely to succeed under the Act
because the river is non-navigable; contrived friction in US–Mexico relations from
the buoys was not irreparable harm; and the equities and public safety favored Texas.

ROA.301, 314-16.
    The US subsequently filed a document titled “Notice of Survey of the Interna-
tional Boundary and Water Commission,” claiming “that a majority of the floating

barrier . . . is located within the territory of Mexico.” ROA.692; see also ROA.696. It
filed this notice after Texas opposed the motion—even though the IBWC had com-
pleted its survey two weeks prior. ROA.691, 695. Then, in its reply brief, the US




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attached two new declarations claiming irreparable harm was “exacerbated” by the
IBWC’s discovery that the buoys were (allegedly) in Mexican waters. ROA.736, 747.
    But the US failed to disclose that it had itself violated the operative bilateral
treaty. Under this agreement, IBWC “shall with appropriate precision delineate the
international boundary on maps or aerial photographic mosaics” at “intervals not

greater than ten years.” Treaty to Resolve Pending Boundary Differences & Main-
tain the Rio Grande and Colorado River as the International Boundary, Nov. 23,
1970, T.I.A.S. No. 7313, at 23, art. II.C (1970 Treaty); ROA.1220. The US and Mex-
ico have thus recognized the inevitable and natural “changes in the channels of th[e]
rivers.” Id. at preamble. But the US’s own filing establishes that “the current IBL
delineated”—that is, the boundary line—“was recorded in 2009 as Minute 315.”
ROA.696 (emphasis added). Despite accusing Texas of violating this treaty—and
the district court’s expressed concern that the buoys might have been placed in Mex-
ico, ROA.986-87, the US has never acknowledged that IBWC’s “current” map ex-

pired under the treaty’s terms in 2019.2
    The district court issued a preliminary injunction on September 6, 2023, order-
ing Texas to “reposition . . . all buoys, anchors, and other related materials compos-

ing the floating barrier placed by Texas in the Rio Grande” to the water along



    2
      Notwithstanding its continued belief based on GPS data that the buoys were
placed in US waters, Tr. 99-100, Texas moved them back to obviate the US’s (mis-
taken) assertion that they sat in Mexican waters. Tr. 89. IBWC now concedes “the
entire buoy line [is] located within the United States.” United States v. Abbott, 1:23-
cv-853, ECF No. 57-1, ¶ 8 (W.D. Tex. Sept. 19, 2023).

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Texas’s riverbank by September 15. ROA.1005-06 & n.32. The court also prohibited
Texas from placing additional buoys elsewhere. ROA.1005.
    Texas appealed within an hour, ROA.1007, and promptly sought a stay from this
Court. This Court entered an administrative stay the next day. ROA.1009. In its
emergency filings, the State emphasized the component of the district court’s in-

junction that mandated the State reposition the buoys in just 9 days. ROA.1005-06.
But contrary to the US’s response, ECF 30 at 7, 28, Texas has unquestionably ap-
pealed the entire injunction, ROA.1007.

                    Summary of the Argument
    A straightforward application of Winter’s four-part test shows that the district
court erred by entering a preliminary injunction here.
    I. The US failed to show a likelihood of success on the merits for four reasons.
First, the Corps lacks jurisdiction because this stretch of the Rio Grande is non-nav-
igable. The US’s own evidence confirms there has never been any commercial navi-
gation in the disputed area and, assuming courts may consider hypothetical future
commercial use, the US adduced no evidence that this stretch of river could be made

navigable through reasonable improvements. Second, assuming the Corps has juris-
diction, the US’s own witness testified that the buoys do not “obstruct” traffic along
the river in violation of the Act. Instead, they run parallel to the current to prevent

illicit cross-border fording. Third, the buoy system does not qualify as a “struc-
ture[]” requiring a federal permit under the Act because it is impermanent and does
not stretch across the current. Fourth, the US’s contrary reading would flout the
Constitution. Interpreting the Act to sweep beyond any commercial nexus would

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exceed Congress’s Commerce Clause power. And countermanding the State’s au-
thority under the Invasion Clauses is flatly inconsistent with the Constitution’s text
and the US’s concession that the exercise of such authority presents a nonjusticiable
political question.
    II. The US also failed to carry its burden under the remaining three elements of

Winter’s four-part test. Perhaps that is why the US claims it need only meet the first
element. But Winter’s standard applies to all litigants. The federal government’s al-
leged irreparable harm based on concerns over treaty compliance is impossible to
square with its own continued failure to fulfill treaty obligations—and its willful re-
fusal to acknowledge those obligations in federal court. The public interest plainly
favors efforts to reduce the flow of deadly fentanyl, combat human trafficking, pro-
tect Texans from unlawful trespass and violent attacks on their property, and divert
migrants to safe, legal points of entry. Texas’s buoys serve these interests, save lives,
and have effectively eliminated dangerous crossings in one of the most active drug-

smuggling and human-trafficking hotspots on the river. In balancing the equities,
these benefits clearly outweigh the only harms the US presses.
    III. Unable to award injunctive relief under that traditional standard, the district

court reimagined this case from top to bottom—ignoring the evidence Texas pre-
sented, conjuring (inaccurate) evidence of its own, and crafting an injunction that
does not even redress the injury that supposedly justifies “extraordinary” relief in

this case.




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                           Standard of Review
       A “preliminary injunction is an extraordinary remedy which should not be
granted unless the party seeking it has ‘clearly carried the burden of persuasion.’”
Harrison v. Young, 48 F.4th 331, 342 (5th Cir. 2022). Any “plaintiff seeking a pre-
liminary injunction must establish that he is likely to succeed on the merits, that he
is likely to suffer irreparable harm in the absence of preliminary relief, that the bal-
ance of equities tips in his favor, and that an injunction is in the public interest.”

Winter, 555 U.S. at 20. Because the US sought a “mandatory injunction” compelling
Texas to move the buoys, it bore “the burden of showing a clear entitlement to the
relief [it seeks] under the facts and the law.” Justin Indus. Inc. v. Choctaw Sec., L.P.,
920 F.2d 262, 268 n.7 (5th Cir. 1990) (per curiam). “Only in rare instances is the
issuance of a mandatory preliminary injunction proper.” Tate v. Am. Tugs, Inc., 634
F.2d 869, 870 (5th Cir. Unit A Jan. 1981). This Court “review[s] the district court’s
grant of [a] preliminary injunction for abuse of discretion, reviewing underlying fac-
tual findings for clear error and legal conclusions de novo.” Harrison, 48 F.4th at
339.

                                    Argument

I. The US Is Not Likely to Succeed on the Merits of Its Claims Under the
   Rivers and Harbors Act.
       The US failed to prove, as a matter of fact, that the disputed waterway is com-
mercially navigable—and thus subject to Corps jurisdiction. Moreover, the buoys do
not obstruct navigable capacity (if any) and are not “structures” prohibited by the




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Act. The Court must also reject the US’s reading of the Act to avoid constitutional
conflict with the Commerce Clause and Texas’s self-defense rights.

    A. The contested stretch of ankle-deep water is not commercially
       “navigable,” so the Corps lacks jurisdiction.
    1. The US is a government of enumerated powers, and the Act is grounded upon
Congress’s power to regulate interstate and foreign commerce. See Gibbons v. Ogden,
22 U.S. 1, 197 (1824); Sackett v. EPA, 598 U.S. 651, 686-87 (2023) (Thomas, J. con-
curring). Navigability is a prerequisite for Corps jurisdiction under the Act and must
be assessed in a “segment-by-segment approach,” PPL Mont., LLC v. Montana, 565
U.S. 576, 594 (2012)—as the Corps acknowledges, 33 C.F.R. § 329.11(b). Precedent

establishes that not all border waters are navigable, Oklahoma v. Texas, 258 U.S. 574,
584-85 (1922), and that the Rio Grande is not navigable for its entire 1,200-mile
course between Texas and Mexico, United States v. Rio Grande Dam & Irrigation Co.,
174 U.S. 690, 698 (1899). This case concerns a 1,000-foot stretch of the Rio Grande
in Maverick County.
    More than a century of Supreme Court precedent discussing navigability focuses
on a waterway’s capacity to facilitate actual commerce “in the nature of a highway.”
See, e.g., Willson v. Black-Bird Creek Marsh Co., 27 U.S. 245, 250-51 (1829); Gilman
v. Philadelphia, 70 U.S. 713, 724-25 (1865); The Montello, 87 U.S. 430, 442 (1874);
Rio Grande, 174 U.S. at 698; Leovy v. United States, 177 U.S. 621, 627-28 (1900). As
a result, the river “must (1) be or have been (2) used or susceptible of use (3) in the
customary modes of trade and travel on water (4) as a highway for interstate




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commerce.” Miami Valley Conservancy Dist. v. Alexander, 692 F.2d 447, 449-50 (6th
Cir. 1982).
    Sporadic use is not navigability. Id. at 449. And commercial navigability cannot
be established by showing that the river may be forded on foot, United States v. Ore-
gon, 295 U.S. 1, 20-21 (1935), or that small craft can ferry bank-to-bank, United States

v. Crow, Pope & Land Enters., Inc., 340 F. Supp. 25, 34-35 (N.D. Ga. 1972). Because
“[j]urisdiction over” “portions of” a river “is in controversy,” the Corps’ say-so is
not enough. Navigability is a fact question that “should be determined by evidence”
in open court. Rio Grande, 174 U.S. at 698 (remanding for trial-court factfinding).
    Rather than “prove” the disputed stretch is navigable, Miami, 692 F.2d at 448,
451, the US demanded obedience to a 1975 study that one of its witnesses found on
a list in the Corps’ Fort Worth office, Tr. 12:10-15:2, and which that witness admit-
ted he had “not read,” ROA.1457-59. In other words, the US’s lone navigability wit-
ness deemed the disputed waterway navigable “just” because “a list” said it was.

Tr. 34-35.
    2. The evidence adduced at the preliminary-injunction hearing does not help the
US. The 1975 study itself admitted this stretch of the river had no commercial navi-

gation. Tr. 44-46. In fact, that study says there “has never been any ‘practical navi-
gation’ between Roma . . . and El Paso,” a 1,000-mile stretch that includes the
buoys’ location in Maverick County; that one “extraordinary” military expedition

passed Roma but no “substantial items of commerce were shipped from this point”;
that “actual accounts of commercial travel [were] lacking” because “[a]bove Laredo
up to Eagle Pass . . . navigation was impeded by rocks and ledges”; and that there

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was “no commercial activity occurring within the study area” in 1975. ROA.1095,
1103-04.
    Because neither a one-off “exceptional” use, Rio Grande, 174 U.S. at 699, nor
“military expeditions,” Miami, 692 F.2d at 451, will suffice, the district court erred
in relying on the study’s isolated examples, ROA.979-80. But even the study

acknowledges “difficulty in pinpointing the precise head of navigation from a histor-
ical standpoint,” because those isolated accounts of the river’s use are “sketchy.”
ROA.1103. In the end, the study punts, deeming it “unnecessary to determine
whether sufficient past use occurred in the study area to meet the test” for naviga-
bility. ROA.1103. At the preliminary-injunction hearing, both sides’ witnesses at-
tested that what was true “more than four decades” ago remains true today: Current
commercial use is not only nonexistent, supra at 6-7, it is impossible due to shallow
conditions, sand bars, and islands, ROA.1278-79.
    The only “commerce” the US has ever pointed to is “millions of dollars in il-

licit” activity from Mexico to Texas. ROA.944. But the US has cited no Supreme
Court decision finding navigability based on bank-to-bank traffic. In fact, the Court
has suggested the very opposite. Because navigability asks whether a waterway is “of

practical service as a highway of commerce,” Econ. Light & Power Co. v. United States,
256 U.S. 113, 124 (1921) (emphasis added), its analysis has turned on commercial
navigability “along” a river, “up” and “down” its course, and “from” one point

“to” another, United States v. Appalachian Power Co., 311 U.S. 377, 414-16 (1940).
The district court observed that “[c]ourt cases from this period discuss ferry” oper-
ations transporting items like cotton between Texas and Mexico. ROA.979 (citing

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United States v. Weil, 35 Ct. Cl. 42 (1900), and Tugwell v. Eagle Pass Ferry Co., 9 S.W.
120 (Tex. 1888)). But “[t]he existence of ferries is no more an example of commer-
cial use than the presence of a bridge or railroad trestle whose primary purpose is to
avoid the river rather than to employ it as a means for trade and transportation.” Crow,
340 F. Supp. at 35 (emphasis added). That is why the Supreme Court deemed evi-

dence of “small public ferries going from one bank to the other” insufficient in Ap-
palachian Power, demanding instead evidence that the New River was used as a
“highway” up- and down-river. Compare 311 U.S. at 413, with id. at 414-16.
    In any event, any bank-to-bank traffic between Mexico and Texas is illegal.
8 U.S.C. § 1325; 19 U.S.C. § 1459. Despite the US’s decision to characterize the
trafficking of human beings and drugs as “illicit commerce,” ROA.944, crime does
not qualify as commercial activity under the Commerce Clause, see United States v.
Morrison, 529 U.S. 598, 609-17 (2000) (citing United States v. Lopez, 514 U.S. 549
(1995)). This Court should not bless an effort to ground federal jurisdiction on the

Biden Administration’s desire to preserve the free flow of trafficked human beings,
deadly fentanyl, and untraceable weapons into Texas.
    3. The Supreme Court has suggested that potential for commerce might suffice

for navigability in some scenarios under a different statute. See Appalachian Power, 311
U.S. at 406-08 (discussing the Water Power Act). But the Court is unlikely to expand
that holding to the Act given subsequent precedent, which has refocused navigability

on the present use of a waterway, see United States v. Republic Steel Corp., 362 U.S.
482, 483, 485 (1960), and which emphasizes that actual commerce must “already”
exist as a predicate for federal authorities to “regulate” under the Commerce

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Clause, NFIB v. Sebelius, 567 U.S. 519, 550-58 (2012). Just as Congress cannot
“bring the subject of the regulation into existence” by speculating about future pur-
chases of health insurance, so too it cannot bring a navigable waterway into existence
by speculating that dry riverbeds might be made into flowing streams. Id.; see also
Sackett, 598 U.S. at 686-92 (Thomas, J., concurring).

    Even assuming Appalachian Power’s conception of navigability could apply here,
the analysis must focus on whether (1) the “natural condition” of the disputed wa-
terway (2) could permit “customary modes” of trade and travel (3) such that it con-
stitutes a “highway of commerce” (4) for “through navigation” along the waterway
(5) with only practically “reasonable improvements.” 311 U.S. at 407, 411, 413-17.
The US, for its part, must “support[] its allegations” on each of those elements with
proof. Id. at 417.
    The US made no effort to quantify or even describe what improvements could
be performed, how they could be practically accomplished on this waterway, how

much they would cost, what depth of boat could be used there for through traffic,
whether they comply with other statutes (e.g., NEPA), and what volume and kind of
commercial goods could be transported. Absent record evidence that any improve-

ments would be both financially and physically practicable, a court has no basis to
conclude that such improvements would be “reasonable,” meeting “a balance be-
tween cost and need.” Id. at 407 n.26 (citing Rio Grande, 174 U.S. at 699). The dis-

trict court should have required proof that “the costs of improvement would be jus-
tified by the benefits to commercial transit in this area,” Lykes Bros. Inc. v. USACE,
821 F. Supp. 1457, 1464 (M.D. Fla. 1993), aff’d, 64 F.3d 630 (11th Cir. 1995). Absent

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“these two crucial factors,” the district court cannot credit future use because a
“court cannot balance the opposing interests.” Crow, 340 F. Supp. at 35-36.
    To make up for the US’s evidentiary shortfall, the district court relied repeat-
edly on unfounded conjecture. See ROA.974, 980. For instance, it speculated that
there might be “re-prioritization and increased flow from the Amistad Dam.”

ROA.980. But the US’s own evidence refutes such prospects: There were “[n]o au-
thorized plans” to improve the river for future commercial use because navigation is
“fifth” among competing water-use priorities, meaning there is “little likel[i]hood
of change.” ROA.1096. Although re-prioritization is possible, it is not reasonable
when “[t]here would be serious ecological objections to any channelization,” and
the economic justifications for improvements “appear doubtful.” ROA.1096, 1104.
Contra ROA.941-44, 980-82. The district court even made predictions that would
give a weatherman pause: Rainfall from “El Nino,” it speculated, might make this
section navigable one day. ROA.977.

    The district court—like the 1975 study before it, ROA.1102—also erred by rely-
ing on statutes referencing “free navigation” along the Rio Grande. See ROA.973-
74. Such language is “only precautionary and not intended as an affirmation of nav-

igable capacity in that locality.” Oklahoma, 258 U.S. at 586. Even the study recog-
nizes that treaties merely “provide that the navigation of the actually navigable main
channels of the river is made free and common.” ROA.1161 (emphasis added). Far

from assuming navigability, Rio Grande (which the study cites) remanded on that
issue because it was a matter “requiring evidence, and to be determined by proof.”



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174 U.S. at 698. Statutes or treaties referencing navigability are not substitutes for
actual evidence of commercial navigation.

    B. The narrow line of buoys does not “obstruct” navigation along a
       stretch of river more than 200 feet wide from bank to bank.
    1. Even if this part of the Rio Grande were navigable, the US still must show that
Texas has violated the Act, which prohibits “[t]he creation of any obstruction not
affirmatively authorized by Congress, to the navigable capacity of” a covered water-
way. 33 U.S.C. § 403. To be an “obstruction,” an object must “adversely affect[]”
navigation such that it “tends to destroy the navigable capacity of one of the navigable
waters of the United States.” Republic Steel, 362 U.S. at 487-88 (emphasis added).

An object that “may only deter movements in commerce” is not enough. Id. Because
this requires proof that the object “substantially diminish[es] the navigability of that
stream within the limits of present navigability,” it “always” presents a question “of
fact[.]” Rio Grande, 174 U.S. at 709-10.
    The US failed to meet this burden, too. It is hard to obstruct commercial navi-
gation that does not yet exist. Supra at 16-19. And during the preliminary-injunction
hearing, its own witness acknowledged that: the buoys do not run bank-to-bank to
block traffic up- or down-river, ROA.1393; the disputed stretch is more than 200 feet
wide, Tr. 32; and traffic was limited to law-enforcement airboats, which could easily
travel “up the river and down the river” because the buoys were merely “four-foot-
diameter floating barriers,” ROA.1393-94. Even on the district court’s more expan-
sive view, which included the concrete anchors, the buoy system is only 16 feet wide.

ROA.985. Either way, any boats small enough to be able to float in the shallow waters


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can easily maneuver past the buoys. ROA.1275, 1450. To the extent this stretch per-
mits navigation up- and down-river at all, such navigation is entirely unimpeded. And
the buoys do not, in fact, impede the only lawful navigation in this section—shallow-
draft law-enforcement airboats. Because they run with the current, the buoys merely
prevent illicit cross-border fording without obstructing river travel. ROA.1274-75,

1450. That should have ended the matter.
       2. The district court found the buoy system was an “obstruction” because a
navigator would have to “take note of” the buoys and “maneuver around” them.
ROA.984-85. This argument proves too much. The very same thing could also be
said of a recreational swimmer or a stray soccer ball—a navigator would have to take
note of and maneuver around literally any object in the waterway. Given that the Act
carries criminal punishment, see 33 U.S.C. § 406, such a reading is entirely implausi-
ble.
       Little wonder, then, that Supreme Court precedent rejects the district court’s

approach. As explained above, an object that “may only deter movements in com-
merce” won’t do—it must “adversely affect[]” navigation. Republic Steel, 362 U.S.
at 487; see also Rio Grande, 174 U.S. at 710. And an object most naturally impedes

vessels navigating along a river when it extends into the river and is set perpendicular
to the current. See United States v. Angell, 292 F.3d 333, 335 (2d Cir. 2002) (examin-
ing “dock structure” that “span[ned] most of the width of the Canal”); United

States v. W. Indies Transp., Inc., 127 F.3d 299, 310 (3d Cir. 1997) (examining “large
dock” from barges connected to shore); Norfolk & W. Co. v. United States, 641 F.2d



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1201, 1211 (6th Cir. 1980) (examining “collapsed dock, extending 35 feet into the
river”).
    It is true, as the district court observed, ROA.983, that “fine particles” contrib-
uted to obstructing navigable capacity in Republic Steel, 362 U.S. at 483. But Republic
Steel does not stand for the proposition that any object—no matter how infinitesi-

mally small—becomes an obstruction the moment it touches water. In that case, the
aggregate effect of millions of particles reduced a navigable channel from 21 feet of
depth to as little as 12 feet. See id. at 484. Judged against existing commercial use,
halving the river’s depth would clearly impede its use as a highway. No amount of
“tak[ing] note” and “maneuver[ing]” could permit a navigator accustomed to using
the types of watercraft appropriate for the river’s prior depth to navigate that same
river with 9 feet of alluvial deposits now littering the riverbed. Far from helping the
US, Republic Steel confirms the Act’s “obstruction” clause is concerned with navi-
gation up and down the river.

    The buoys, by contrast, in no way alter the river’s makeup or otherwise inhibit
its (imagined) use as a commercial highway. The river is more than 200 feet wide,
and the buoys take up 4 to 16 feet. Tr. 32:15-17; ROA.1393-94. Texas is unaware of

any boat that is 100 feet wide and can float in knee-deep water. Straining to find some
way to construe the buoys as obstructive, the district court declared the buoy system
is “not easily seen.” ROA.985. That sua sponte assertion is completely unsupported

by record evidence. No witness testified that the anchoring blocks pose unseen haz-
ards for navigators. And no witness testified that law-enforcement boats have, in fact,
collided with the bright orange buoy system.

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    3. Given the lack of any change to the ability to navigate up- and down-river on
either side of the buoys, the district court pointed to the buoy system’s ability to
obstruct traffic across the river. But once again, this argument proves too much. It is
impossible to square with agreements between the US and Mexico, which have long
recognized that “such common right [to navigation] shall continue without preju-

dice throughout the actually navigable main channels of the said rivers, from the
mouth of the Rio Grande to the point where the Rio Colorado ceases to be the inter-
national boundary.” Convention Between the United States of America & the
United States of Mexico, art. V at 4, Nov. 12, 1884 (emphases added); see also Treaty
with the Republic of Mexico, art. VII, Feb. 2, 1848, 9 Stat. 928, 928-29; Treaty with
Mexico, art. IV, Dec. 30, 1853, 10 Stat. 1034; Treaty Between the United States of
America & Mexico, art. 3 at 8, Nov. 14, 1944 (1944 Treaty). To preserve that guar-
antee, the two countries agreed that “[n]o artificial change in the navigable course
of the river, by building jetties, piers, or obstructions which may tend to deflect the

current or produce deposits of alluvium, or by dredging to deepen another than the
original channel,” or “by cutting waterways to shorten the navigable distance, shall
be permitted.” 1884 Convention, art. III. All those impediments hinder navigation

up and down the river—not across it. 3 At least one treaty actually requires the place-
ment of objects that—like Texas’s buoy system—would form a border “boundary”
and prevent traffic across the river. ROA.915-16 (citing 1944 Treaty). Because




    3
        So, too, for the statutes the US has cited. See ROA.750-60.

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Texas’s buoys do not obstruct navigation along the river, they are consistent with
both the Act and these treaties.

    C. Unlike the “structures” prohibited in the Act, the string of buoys
       is not a permanent fixture stretched across a waterway.
    1. The buoys are also consistent with the next clause of Section 10, which pro-
hibits “build[ing] . . . any wharf, pier, dolphin, boom, weir, breakwater, bulkhead,
jetty, or other structures in [covered waters] except on plans recommended by the
Chief of Engineers and authorized by the Secretary of the Army.” 33 U.S.C. § 403.
Notably absent from that detailed list of prohibited structures is “buoys.” And the
US’s own witness—both during his deposition and again at the preliminary-injunc-

tion hearing—unequivocally admitted that the buoys are not any of the listed struc-
tures. Tr. 48; ROA.1468.
    Absent any evidence from the US—and in the teeth of a concession by its own
witness—the district court nevertheless declared the buoy system a “boom.”
ROA.989-90 & n.22. This Court has previously rejected as “unreasonable” an argu-
ment that is “based on . . . overlooking [a] concession.” Nuncio v. Johnson, 208 F.3d
1007, 2000 WL 178147, at *12 (5th Cir. 2000). And it has observed that “conces-
sions” usually provide a reason to “discount”—not to bolster—the conceding
party’s evidence. Rollins v. Fort Bend ISD, 89 F.3d 1205, 1214 (5th Cir. 1996). The
district court’s decision to take matters into its own hands flouts the party-presenta-
tion principle. See United States v. Sineneng-Smith, 140 S. Ct. 1575, 1579-81 (2020).




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    In any event, the district court’s assertion that the buoy system “resembles” a
boom even though it might “not fit perfectly” under that definition shows the buoy
system is not, in fact, a boom. ROA.989.
    2. That leaves the US’s claim (which the district court also accepted) that the
buoy system falls within Section 10’s bucket of “other structures.” ROA.991-93.

When Congress provides a detailed list of items followed by a catchall term, courts
must construe the latter to avoid rendering the former superfluous. Antonin Scalia
& Bryan A. Garner, Reading Law 199 (2012). This interpretive principle, known as
the ejusdem generis canon, directs that general terms be construed to encompass only
what is similar in nature to the preceding specific terms, ensuring that those gener-
alities “will not render specific words meaningless.” Yates v. United States, 574 U.S.
528, 545-46 (2015) (plurality op.).
    Courts applying ejusdem generis must identify an “obvious and readily identifia-
ble genus” and determine what is common to that genus based on surrounding con-

text. Scalia & Garner, supra, at 207-08; see also Ali v. Fed. Bureau of Prisons, 552 U.S.
214, 225 (2008) (canon turns on the “common attribute” shared). What the listed
terms here have in common is permanence and the capacity to stretch across a wa-

terway. Cf. United States v. Burns, 54 F. 351, 361-63 (C.C.D. W. Va. 1893). How far
the object extends into the waterway varies, but contemporary dictionaries and prec-
edent reflect that each term shares these attributes:

       • Boom: Webster’s New International Dictionary 254 (1930) (“a chain ca-
         ble or line of spars extended across a river or the mouth of a harbor, to
         obstruct passage”); Lindsay & Phelps Co. v. Mullen, 176 U.S. 126, 154
         (1900) (“constructed” boom “extend[ed] across the main channel of


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   the Mississippi river and into the territory of Wisconsin”); United States
   v. Bellingham Bay Boom Co., 176 U.S. 211, 211 (1900) (“boom . . . con-
   structed across the Nooksack river”); Susquehanna Boom Co. v. West
   Branch Boom Co., 110 U.S. 57, 57-58 (1884) (similar).

• Pier: Webster’s New International Dictionary 1633 (1930) (“A breakwa-
  ter, groin, or mole extending into navigable water for use as a landing
  place…hence, a structure built out into the water with piles”); Pound v.
  Turck, 95 U.S. 459, 461 (1877) (“piers…across the stream”); Bates v.
  Illinois Central R.R. Co., 66 U.S. 204, 207 (1861) (“constructed” pier
  “was run across” the river).

• Wharf: Webster’s New International Dictionary 2322 (1930) (“A struc-
  ture of timber, masonry, iron, earth, or other material, built on the shore
  of a harbor, river, canal, or the like, and usually extending from the
  shore to deep water”); Greenleaf-Johnson Lumber Co. v. Garrison, 237
  U.S. 251, 256 (1915) (“continuous wharf of three sides” “made exten-
  sion into the river from two points on the shore”); Heckman v. Sutter,
  119 F. 83, 87 (9th Cir. 1902) (attempt “to construct a wharf . . . across
  the tide flats to the deep water”).

• Breakwater: Webster’s New International Dictionary 272 (1930) (“A
  structure for breaking the force of waves, as a mole or sea wall”); Rio
  Grande, 184 U.S. at 419 (“breakwater . . . across the Rio Grande or the
  waters thereof”).

• Weir: Webster’s New International Dictionary 2318-19 (1930) (“A dam
  in a river to stop and raise the water”); Holyoke Co. v. Lyman, 82 U.S.
  500, 513 (1872) (statute prohibiting “any weir” “in or across rivers or
  streams”).

• Bulkhead: Webster’s New International Dictionary 289 (1930) (“A struc-
  ture of wood or stone to resist the pressure of earth or water; a partition
  wall or structure, as in a mine”); Appleby v. City of New York, 271 U.S.
  364, 386 (1926) (“city erected a bulkhead outshore from such westerly
  line and filled up the space between it and the old bulkhead and destroyed
  the use of the wharf”).

• Jetty: Webster’s New International Dictionary 1162 (1930) (“A structure,


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          as a pier or mole of wood or stone, extended into a sea, lake or river, to
          influence the current or tide”); Zeller v. American International Corp.,
          292 F. 822, 823 (3d Cir. 1923) (US “built a stone jetty . . . diagonally
          down the river . . . to deflect the current”).

       • Dolphin: Webster’s New International Dictionary 659 (1930) (“A moor-
         ing post or posts on a wharf or beach”); Philadelphia v. Standard Oil Co.
         of Pennsylvania, 12 F. Supp. 647, 648 (E.D. Pa. 1934) (“a line of dolphins”
         together with a wharf “extend into the river”); Petro United Terminals,
         Inc. v. J.O. Odfjell Chem. Carriers, 756 F. Supp. 269, 271 (E.D. La. 1991)
         (describing a “facility” of “seven dolphin platforms connected by a
         catwalk” jutting into the Mississippi River).

Even the district court’s dictionary citations highlight a capacity to “stretch[]” or
“extend[] across a river” or other “body of water.” ROA.989-90. Tellingly, when
Congress amended the law in 1986 to provide lighting rules for certain items falling
within the “other structure[]” category, it also chose permanent structures that ex-
tend across a waterway. See 33 U.S.C. § 403b (“a dock or a boat launching facility”).
    Corps regulations and precedent confirm the Act is focused on permanent struc-

tures. The Corps itself interprets “structure” to include “permanent mooring struc-
ture[s]” and “permanently moored floating vessel[s].” 33 C.F.R. § 322.2(b). Courts
have long construed Section 10 the same way—as covering structures “permanent

in nature.” United States v. Burns, 54 F. 351, 363 (C.C.D. W.Va. 1893). See, e.g.,
United States v. Estate of Boothby, 16 F.3d 19, 21 (1st Cir. 1994); United States v.
Boyden, 696 F.2d 685, 687 (9th Cir. 1983); United States v. Oak Beach Inn Corp., 744
F. Supp. 439, 444 (S.D.N.Y. 1990); United States v. Bridgeport Towing Line, 15 F.2d
240, 240 (D. Conn. 1926); Phenix Constr. Co. v. Cornell Steamboat Co., 103 N.E. 891
(N.Y. 1913). From its earliest days, Section 10 and its predecessor were “intended


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to apply to all obstructions of a permanent character.” United States v. Hall, 63 F.
472, 474 (1st Cir. 1894).
    By design, however, Texas’s buoys are impermanent and incapable of crossing
the current as presently deployed. See Tr. 95-96; ROA.1274, 1284-85. The buoy sys-
tem is unquestionably temporary—not permanent. Texas’s ability to move the bar-

rier closer to the Texas border shows that it can be moved in a matter of days. Tr.
102-03. At the same time, however, the buoy system cannot be moved inadvertently.
Id. As the buoy system was positioned, so it will remain. It therefore will not stretch
across the waterway like the enumerated structures. The buoy system is not an
“other structure[]” under the Act.
    Surrounding context suggests a clear distinction between “other structures”
and “buoys.” See Dubin v. United States, 143 S. Ct. 1557, 1566 (2023). Start with the
Act itself, which “must be read as a whole,” harmonizing “individual terms or
phrases.” Sealed Appellee 1 v. Sealed Appellant 1, 767 F.3d 418, 421 (5th Cir. 2013).

Other provisions of the Act demonstrate that Congress knew how to use the term
buoy when it wanted to. Section 14, for example, classes “buoys” as an “established
marker[]” (such as a boundary mark or tide gauge) and distinguishes it from a

“work[]” (such as a pier or wharf). 33 U.S.C. § 408(a). It seems Congress views
buoys as decidedly unlike the structures enumerated in Section 10.
    Or take Section 15, which requires the owner of a sunken vessel to flag the site

with “a buoy or beacon.” 33 U.S.C. § 409. It does not require Corps pre-approval.
Id. (operator of sunken craft “shall . . . immediately mark it with a buoy”). This not
only indicates that buoys are different from other structures. It also subjects them to

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a diametrically opposed rule: Section 10 prohibits “other structures” globally unless
approved by federal officials. Section 15 mandates placing “buoys” in navigable wa-
ters even without obtaining federal approval. In other words, the latter provision says
“buoys” may be placed without the sorts of restrictions that the former provision
imposes on “other structures.” It simply cannot be, then, that buoys are covered by

Section 10 and thus permitted only “on plans recommended by the Chief of Engi-
neers and authorized by the Secretary of the Army.” The obvious way to read Sec-
tion 10 and Section 15 harmoniously is to recognize that “buoys” are not “other
structures.”
    Bilateral treaties with Mexico suggest the same thing. For more than 150 years
the US and Mexico have guaranteed: (1) a general right to navigate (2) up and down
the Rio Grande (3) where it is actually navigable. Simultaneously, those agreements
bless buoy systems. The 1944 US-Mexico treaty requires placing “buoys” in “a
practicable and convenient line” between the countries in certain places along the

Rio Grande. 1944 Treaty, art. 21. Such a buoy system, moreover, can properly serve
not only to assist navigation, but also to “mark the boundary for the application of the
customs and police regulations of each country.” Id. (emphasis added). This is con-

sistent with the same treaty’s navigability guarantee, id. art. 3, because buoys (in-
cluding buoy systems) are not “obstructions” or “structures” prohibited by the Act.
But even assuming some conflict, the later-enacted 1944 Treaty controls over the

Act’s circa-1899 prohibition. See Cook v. United States, 288 U.S. 102, 118-19 (1933).
A string of temporary buoys set parallel to the current therefore cannot violate the
Act.

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    D. The Court must interpret the Act to avoid—not to conflict with—
       the Constitution.
    Texas has provided the best way to interpret the Act’s plain text. Supra Part I.A-
C. At minimum, however, Texas’s reading is not “‘plainly contrary to the intent of

Congress’” and also comports with the Constitution. Hersh v. U.S. ex rel. Mukasey,
553 F.3d 743, 753-54 (5th Cir. 2008) (citation omitted). The US, by contrast, proffers
a view of the Act that would exceed any sound conception of Congress’s Commerce

Clause authority and would snuff out Texas’s inherent right to preserve itself as en-
shrined in the Invasion Clauses. Because no court lightly assumes that Congressmen
violated their oaths to uphold the Constitution, this Court must construe the Act to

avoid the constitutional conflict the district court invited. See United States v. Han-
sen, 143 S. Ct. 1932, 1946 & n.3 (2023).
    1. States have an undeniable interest in the waterways that lie within and along
their territory. Even “today, States enjoy primary sovereignty over their waters, in-
cluding navigable waters—stemming from their status as independent sovereigns
following Independence, or their later admission to the Union on an equal footing

with the original States.” Sackett, 598 U.S. at 686 (Thomas, J., concurring). Because
“[t]he shores of navigable waters, and the soils under them . . . were reserved to the
states respectively,” Lessee of Pollard v. Hagan, 44 U.S. 212, 230 (1845), the federal

government “possesses no authority over navigable waters except that granted by
the Constitution,” Sackett, 598 U.S. at 686 (Thomas, J., concurring).
    Federal authority, in turn, is granted and limited by the Constitution. Congress’s
authority to regulate rivers and streams is not “expressly granted in the Constitution,



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but is a power incidental to the express ‘power to regulate commerce with foreign
nations, and among the several states, and with the Indian tribes.’” Leovy, 177 U.S.
at 632. And because that power is a mere incident, it comprehends the “power to
regulate navigation” only “as connected with the commerce with foreign nations,
and among the states.” United States v. Coombs, 37 U.S. 72, 78 (1838) (Story, J.). For

any statute touching on navigation to be lawful, there must be a nexus to commerce.
See The Daniel Ball, 77 U.S. 557, 564-65 (1870). That, of course, is why the Supreme
Court for so long determined navigability by reference to actual commercial traffic.
Supra at 15-16.
    Here, the US ignores that limitation and argues that the Act empowers federal
officials to regulate waterways even where there is no evidence of present commer-
cial activity or capacity, no evidence of plans for future commercial navigation, and
no description of reasonably practicable improvements that could make such naviga-
tion possible. Supra at 16-20. The district court’s acquiescence in that reading and

its refusal to demand proof of commercial navigability, ROA.980-82, contravenes
not only Section 10’s repeated references to “navigable” waters, 33 U.S.C. § 403
(“navigable capacity,” “navigable river,” “navigable water”), but more fundamen-

tally its Commerce Clause grounding, U.S. Const. art. I, § 8, cl.3. As 22 amici Con-
gressmen explained below, ROA.268-84, without requiring a commercial-navigabil-
ity showing, the constitutional validity of the Act “might well be questioned.” Leovy,

177 U.S. at 633.
    The only commercial activity referenced by the US below was “millions of dol-
lars in illicit commerce . . . crossing the Rio Grande” in Maverick County. ROA.944.

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This Court should reject the dubious suggestion that Congress passed the Act so the
US could impede Texas’s efforts to stop drug smuggling and human trafficking. Hu-
man smuggling may be a multi-billion-dollar business for cartels, Stephen Dinan, $20
Billion Payday: Biden’s Border Surge Sends Smuggling Prices Soaring, Wash. Times
(Sept. 27, 2022), https://tinyurl.com/5a7mf6dd, but criminal activity is not com-

merce for constitutional purposes, see Morrison, 529 U.S. at 609-17. And Congress’s
power to regulate commerce “assumes there is already something to be regulated.”
NFIB, 567 U.S. at 550. Determining the outer reaches of the Commerce Clause is
not an exercise in flights of imagination.
    Although the US repeatedly points to Appalachian Power for federal authority
over waterways that could become commercially navigable, that decision eschewed
announcing any hard and fast “test,” 311 U.S. at 404, and it reaffirmed older cases
like Rio Grande, id. at 407 n.26. In any event, the district court’s decision finding
Corps jurisdiction here without even those safeguards provided in Appalachian

Power, see id. at 406, 417, would be an unprecedented extension of already question-
able precedent, supra at 18-19. This Court need not—and should not—adopt a view
of the Act so completely untethered from interstate and foreign commerce.

    2. In addition to reading the Act to exceed Congress’s power to pass it, the de-
cision below also vitiated a right the Constitution expressly reserved to the States.
Upon joining the Union, “the States did not part with that power of self-preservation

which must be inherent in every organized community.” Smith v. Turner, 48 U.S.
283, 400 (1849) (McLean, J.). After all, “[t]he Constitution, in all its provisions,
looks to an indestructible Union, composed of indestructible States.” Texas v. White,

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74 U.S. 700, 725 (1868). To that end, it provides that “[n]o state shall, without the
Consent of Congress, . . . engage in War, unless actually invaded, or in such immi-
nent Danger as will not admit of delay.” U.S. Const. art. I, § 10, cl.3. It also provides
that the “United States . . . shall protect each [State] against Invasion; and on Appli-
cation of the Legislature, or of the Executive (when the Legislature cannot be con-

vened) against domestic Violence.” U.S. Const. art. IV, § 4.
    The parties agree that whether there is an “invasion” that justifies taking
measures under either clause presents a nonjusticiable political question. See
ROA.744-45, 916-18. That is because “the nature of the power itself” is committed
to executive discretion. Sterling v. Constantin, 287 U.S. 378, 399 (1932). For this rea-
son, as the US put it, “there are no manageable standards to ascertain whether or
when an influx of illegal immigrants should be said to constitute an invasion.”
ROA.745 (citing California v. United States, 104 F.3d 1086, 1090-91 (9th Cir. 1997);
New Jersey v. United States, 91 F.3d 463, 469-70 (3d Cir. 1996); Padavan v. United

States, 82 F.3d 23, 28 (2d Cir. 1996); Chiles v. United States, 69 F.3d 1094, 1097 (11th
Cir. 1995)).
    The only question here, then, is whether the States have the same kind of power

when faced with an invasion as the federal government has. They most certainly do,
as even the district court recognized. See ROA.999 n.29 (“The Court notes that
Texas has the right to defend itself.”). For one thing, States—like other sover-

eigns—have “inherent power to protect their territory.” Arizona, 567 U.S. at 419
(Scalia, J., concurring in part and dissenting in part); cf. United States v. Cooley, 141
S. Ct. 1638, 1643 (2021) (Indian tribes “retain inherent power” to address conduct

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that “threatens or has some direct effect on the political integrity, the economic se-
curity, or the health or welfare of the tribe”).
    The Constitution memorializes that inherent power in the ratified text. If “ac-
tually invaded, or in such imminent Danger as will not admit of delay,” States may
take action even “without the Consent of Congress.” U.S. Const. art. I, § 10, cl.3;

Sveen v. Melin, 138 S. Ct. 1815, 1826–27 (2018) (Gorsuch, J., dissenting). And Con-
gress cannot countermand such state action by statute as it can other state action. See
U.S. Const. art. I, § 10, cl.2 (subjecting state tax laws “to the Revision and Controul
of the Congress”). Article IV obliges the federal government to protect each State
“against Invasion[] and . . . domestic Violence.” U.S. Const. art. IV, § 4. On its face,
this provision imposes an obligation on the federal government—not a limitation on
States. But it also establishes two different rules for dealing with two different sce-
narios. For a “domestic” attack, States may seek help from the federal government
(“on Application of the Legislature, or of the Executive”). Id. For an “Invasion,”

however, States need not invite federal protection. Id. Together, the Invasion
Clauses memorialize concurrent federal and state authority to repel invasions.
    Founding-era sources support this conclusion. In the Virginia ratifying conven-

tion, James Madison “perceive[d] no competition in these clauses”—that is, Article
I, § 10, cl.3 and Article IV, § 4. ROA.869. Instead, they attest “to a concurrence of
the power” between federal and state governments. ROA.869. As Madison put it:

“Does this bar the States from calling forth their own militia? No—but it gives them
a supplemental security to suppress insurrections and domestic violence.” ROA.869
(emphasis added). The Federalist Papers likewise took for granted that States had

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independent authority to defend themselves: “If the interposition of the general gov-
ernment should not be needed”—because a State could handle the matter itself un-
der Article I, § 10, cl.3—the provision for federal intervention under Article IV, § 4
“will be a harmless superfluity.” The Federalist No. 43. The framers thus recog-
nized that when it came to repelling an invasion, the Constitution permitted a State

to work with the federal government. If the federal government proved unnecessary
or unwilling, the State could work alone instead.
    Supreme Court precedent, unsurprisingly, confirms that federal and state gov-
ernments exercise the same power. Just as the President has exclusive “authority to
decide whether the [foreign or domestic] exigency has arisen” for purposes of Arti-
cle I, § 8, cl.15, Martin v. Mott, 25 U.S. 19, 29-30 (1827) (Story, J.), so too the State
has exclusive authority to decide whether the foreign or domestic exigency has arisen
under Article I, § 10, cl.3, Moyer v. Peabody, 212 U.S. 78, 83-85 (1909) (Holmes, J.).
And because “the nature of the power itself” “necessarily” confers discretion, fed-

eral and state exercises of this power are subject only to the same good-faith con-
straint—not judicial second-guessing. Sterling, 287 U.S. at 399.
    Other States may choose to allocate their self-defense power differently. But as

for Texas, the power to determine whether it has been “actually invaded” or other-
wise faces “imminent Danger as will not admit of delay,” U.S. Const. art. I, § 10,
cl.3, is vested in the Governor as the commander-in-chief of Texas’s militia, see Tex.

Const. art. IV, § 7; see also Abbott v. Biden, 70 F.4th 817, 822-23, 842 (5th Cir. 2023).
Governor Abbott has asserted this power here because the US has unconstitutionally
refused to protect Texas—and, more importantly, its citizens—against the dangers

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posed by transnational cartels. The district court had no basis to second-guess Gov-
ernor Abbott’s determination that a sudden influx into Texas of hostile non-state
actors perpetrating human slavery, violent assaults, weapon- and drug-smuggling,
and other crimes on an unprecedented scale justify Operation Lone Star’s initiatives.
Nor did it have any basis to ignore the US’s concession that there are no manageable

standards to even perform such second-guessing.
    In any event, the unprecedented crisis that the federal government refuses to
acknowledge—the sudden and mass entry of criminal cartels trafficking human be-
ings, drugs, and weapons—plainly triggers Texas’s self-defense authority. The US
protests that Texas’s sovereign power is limited to repelling invasions by state ac-
tors. That is obviously wrong. For one thing, the Constitution speaks disjunctively
about state authority to handle an “invasion” or “imminent Danger.” U.S. Const.
art. I, § 10, cl.3. Texans living on the border today know what “imminent Danger”
feels and looks like.

    For another thing, nothing in the text limits this self-defense authority to only
some kinds of invasions. Contemporaneous dictionaries show that “to invade” had a
broad sweep. See Noah Webster, A Compendious Dictionary of the English Lan-

guage 164 (1806) (“to enter or seize in hostile manner”); 1 Noah Webster, American
Dictionary of the English Language 113 (1828) (“to enter as an enemy, with a view
to conquest or plunder; to attack”; “To attack; to infringe; to encroach on; to vio-

late”). So, too, did “invasion.” See Johnson’s Dictionary (Boston 1828) (“hostile
entrance” or “an attack”). And “hostile” was not confined only to diplomatic hos-
tility. Id. (“Adverse; opposite; suitable to an enemy.” or “1. A publick foe . . . 2. A

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private opponent; an antagonist . . . 3. Any one who regards another with malevo-
lence; not a friend . . . ”).
    Any notion that “invasion” hinges on the difference between state actors and
non-state actors would seem wholly artificial to the Framers. After all, the Constitu-
tion gives Congress power to “grant Letters of Marque and Reprisal.” U.S. Const.

art. I, § 8, cl.11. And the defining trait of such letters is that they authorize private
actors to cross international borders to commit hostile acts. See Brown v. United
States, 12 U.S. 110 (1814); 1 Blackstone, Commentaries *249-51. In the immediate
aftermath of the Constitution’s ratification, Congress exercised this power to au-
thorize private citizens to engage in piracy against French ships. See United States v.
Verdugo-Urquidez, 494 U.S. 259, 267 (1990) (citing 1 Stat. 579); see also 4 Blackstone,
Commentaries *86.
    A historical practice of American governments engaging with non-state actors
continued from the founding up to the present day. James Madison explained at the

Virginia Ratifying Convention how it “actually happened at Alexandria” that the
state militia were used “to suppress smugglers . . . too formidable for the civil power
to overcome.” 11 James Madison, Debate from Virginia Ratifying Convention (June

16, 1788). Joseph Story conceived of the Whiskey Rebellion—an uprising of non-
state actors in Pennsylvania between 1791 and 1794—as an insurrection. 3 Story, su-
pra, § 1808; see also SBC Commc’ns, Inc. v. FCC, 154 F.3d 226, 236 n.17 (5th Cir.

1998) (quoting 4 Annals of Cong. 788 (1794)) (same). In 1916, the US sent forces
into Mexico to pursue a band of non-state actors because the Mexican government
“was incapable of policing” its own border and tracking down Pancho Villa. John

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S.D. Eisenhower, Intervention! The United States and the Mexican Revolution
1913-1917, at 227-50 (1993). After 9/11, Congress authorized the use of military force
against not only responsible “nations” but also “organizations” and “persons.” Au-
thorization for the Use of Military Force, Pub. L. 107-40, § 2(a), 115 Stat. 224 (Sept.
18, 2001). The Obama Administration rightly observed that “[t]he inherent right of

self-defense is not restricted to threats posed by States.” Report on the Legal and
Policy Frameworks Guiding the United States’ Use of Military Force 9 (2016).
    Since the district court consulted extra-record evidence, ROA.966-67 (citing
Michel Martin, How Do Illegal Drugs Cross the U.S.-Mexico Border?, NPR (April 6,
2019), https://tinyurl.com/2ptsb6sb), it is worth noting that most Americans agree
the crisis along our southern border is an invasion. See Joel Rose, A Majority of Amer-
icans See an ‘Invasion’ at the Southern Border, NPR Poll Finds, NPR (Aug. 18, 2022),
https://tinyurl.com/2p84ctzy; cf. Arizona, 567 U.S. at 436 (Scalia, J., concurring
part and dissenting in part) (Arizona’s “citizens feel themselves under siege by large

numbers of illegal immigrants who invade their property, strain their social services,
and even place their lives in jeopardy.”).

II. The US Also Failed to Carry Its Burden Under the Remaining Three
    Elements of Winter’s Preliminary-Injunction Standard.
    The US was wrong to insist that it was excused from proving that it would suffer
irreparable harm, that the public interest favored an injunction, and that the equities
favored an even more porous border. ROA.746-47. And the district court abused its
discretion in concluding those factors favored extraordinary relief. ROA.1001-04.




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    A. All of Winter’s requirements apply to all plaintiffs—including the
       federal government.
    At the outset, this Court may dismiss any suggestion that the US was absolved
of the preliminary-injunction showing that applies to other plaintiffs. Contra

ROA.999-1000. Texas readily acknowledges that the likelihood-of-success prong is
often the most important consideration when assessing whether to award a prelimi-
nary injunction, Mock v. Garland, 75 F.4th 563, 587 n.60 (5th Cir. 2023), especially

because the US is likely to lose on the merits here, supra Part I. But the US’s truly
bold claim—that it need not meet the final three Winter prongs anytime it “seeks an
injunction enforcing a public interest statute”—is a bridge too far. ROA.86.

    The US cited no decision of this Court supporting that proposition postdating
the Supreme Court’s 2008 decision in Winter. See ROA.77-78 (citing United States
v. Marine Shale Processors, 81 F.3d 1329 (5th Cir. 1996), and United States v. FDIC,
881 F.2d 207 (5th Cir. 1989)). So, to create a novel exception, the US and the district
court had to go looking for non-binding decisions outside this circuit. See ROA.82-
83, 999-1001. But even taking those decisions for all they’re worth, not one of them

involved a dispute like this one, pitting the interests of the US against another sover-
eign. The US may think it is entitled to “special solicitude” in the Winter analysis,
but it has done nothing to show why States on the other side of the “v.” are not

entitled to the same. Texas v. United States, 50 F.4th 498, 514 (5th Cir. 2022).
    In any event, this argument sweeps much too far. In most cases where the US
seeks an injunction, “a public interest statute is at issue.” ROA.83. Yet the US is still
required to satisfy all four Winter elements. See, e.g., United States v. Billingsley, 615



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F.3d 404, 406-07, 408 n.4 (5th Cir. 2010) (“the well known four-factor test” applied
to US suit for injunction under Fair Housing Act). That the “government [is] seek-
ing [injunctive] relief” is thus “[o]ne factor informing the public interest” element,
not a basis to shirk that element (and others) entirely. FTC v. Credit Bureau Center,
LLC, 937 F.3d 764, 793 (7th Cir. 2019). Surely the US does not think the Rivers and

Harbors Act is more of a public interest statute than the Fair Housing Act. Like any
other litigant, the US needed to make each of Winter’s four preliminary-injunction
showings.

    B. The US failed to show it would suffer irreparable harm absent a
       preliminary injunction.
    The US proved no irreparable harm. The buoys occupy “de minimis” space in
a 1,000-foot span of a 1,200-mile river. ROA.1275, 1401. They were deployed over
two weeks before the US sued. ROA.1285. And the US’s own evidence showed com-
mercial shipping is nonexistent on this part of the river. ROA.1273, 1285; accord
ROA.1612-18. Because there is no port of entry at the site of the buoy system, navi-
gation across the river from Mexico into the US is completely illegal. 8 U.S.C.

§ 1325; 19 U.S.C. § 1459. The district court clearly erred in stating that the buoys
posed an “impairment to free and safe navigation.” ROA.1003.
    The US tried to bridge this gap by relying on vague diplomatic tensions with

Mexico. During the preliminary-injunction hearing, a low-level federal employee tes-
tified Mexico has expressed “concerns” that Texas is preventing the US from com-
plying with treaty obligations. Tr. 63-67. But despite insisting that border-boundary
compliance is “a top-priority issue,” ROA.746-47, its own declarants establish that


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the US is four years late in complying with its obligation to delineate the international
boundary. Supra at 10-11. Mexico, for its part, has consistently refused to honor its
water-allocation commitments, to the harm of Texans. See Tr. 75-76. These years-
long (and ongoing) failures demonstrate that neither government thought treaty
compliance was “a top-priority issue.” Assuming the two countries have suddenly

decided to take treaties seriously, the federal government cannot stop States from
doing whatever “may upset foreign powers.” Arizona, 567 U.S. at 423-24 (Scalia, J.,
concurring in part and dissenting in part).
    In any case, the district court rightly noted that all “international part-
ners . . . have some disagreements.” Tr. 77. And when it comes to the US-Mexico
relationship, cabinet-level officials tell a different story than the low-level witness
called to testify. National Security Advisor Sullivan called US-Mexico relations a
“strong and enduring bond[] of friendship and partnership.” ROA.1775. And Secre-
tary of State Blinken said he couldn’t recall a time of “stronger partnership and col-

laboration” between the countries, even though “the multiplicity of issues and their
complexity is also greater than ever,” and even though the buoys had already been
in place for weeks. ROA.1777. According to the Biden Administration, relations have

never been better.
    This Court should take the US at its word. In balancing the equities, the only
thing on the US’s side of the scale is alleged friction in US-Mexico relations—some-

thing entirely at odds with the federal government’s own neglect of treaty obligations
and its principal officers’ assertions that relations have never been stronger. “There
[are] no two international partners that don’t have some disagreements,” as the

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district court said, “and that’s a fact of life,” Tr. 77—not a clear ground for manda-
tory injunctive relief, see Martinez v. Mathews, 544 F.2d 1233, 1243 (5th Cir. 1976).

    C. The district court also erred in weighing the equities and public in-
       terest, which clearly favored Texas.
    Finally, the district court erred in failing to conclude that countervailing equities
and public interests overwhelmingly favor Texas. ROA.1002-04. It’s in the public
interest to reduce the flow of fentanyl, to combat human trafficking, to protect Tex-
ans from unlawful trespass and violent attacks on their property by criminal cartels,
and to minimize the risks to migrants of drowning while journeying to and through
illegal entry points. Cf. ROA.1273, 1275. When Texas raised such issues, they were

wrongly lumped together as “political” issues that were “of [no] concern to the
Court.” See, e.g., Tr. 73, 76, 90. But the public interest clearly favored the buoys,
which have effectively eliminated dangerous crossings in one of the most active drug-
smuggling and human-trafficking hotspots on the river. See ROA.1273-76, 1284,
1286.
    As discussed above, millions of individuals and hundreds of millions of fatal
doses of fentanyl have crossed the State’s border with Mexico because of the federal
government’s refusal to secure it. Even the Biden Administration declared “a na-
tional emergency to deal with the threat” of fentanyl and found that “the trafficking
into the United States of illicit drugs, including fentanyl and other synthetic opioids,
is causing the deaths of tens of thousands of Americans annually.” Exec. Order No.
14059, 86 Fed. Reg. 71549, 71549 (Dec. 15, 2021). The State has a strong interest in

protecting its citizens from such irreparable harms.


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    Meanwhile the purported harms the US identifies—potential hindrances to the
US’s relationship with Mexico and minor impairments to navigation on a non-navi-
gable segment of the Rio Grande—are incommensurate with that interest. Absent
the most urgent and compelling command of the Constitution or federal law, feder-
alism concerns strongly counsel against any federal court injunction that would

thwart a State and its commander-in-chief in their efforts to respond to a deadly cri-
sis. See New York v. New Jersey, 598 U.S. 218, 225 (2023) (refusing to interpret com-
pact to “delegat[e] . . . a fundamental aspect of a State’s sovereign power—its ability
to protect the people, property, and economic activity within its borders”).
    What’s more, the buoy system protects not only the safety of the State and its
citizens, but also aliens attempting to enter Texas. The buoy system is designed to
save lives and direct aliens to appropriate ports of entry at bridges while deterring
unlawful, dangerous crossings through the Rio Grande. ROA.1284. Aliens who enter
the US and Texas at ports of entry—rather than attempting an illegal and dangerous

water crossing on the world’s deadliest land border—may enter lawfully if allowed
to do so and in any event do not risk death or drowning while illegally crossing the
Rio Grande. ROA.326-28, 1284. Nobody drowns on a bridge. Rather than supporting

the US, humanitarian concerns disfavored a preliminary injunction.
    Contrary to the district court’s suggestion, there was no evidence that the barri-
ers are “a threat to human life.” ROA.1003. Indeed, the only evidence in the record

attests that the barriers reduce the threat to human life. ROA.1274-76. The district
court erroneously relied on false news reports repeated in Mexican press releases,
suggesting that the barriers had something to do with deaths in the river “just

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upstream” of the barriers. ROA.987. Because this incident, and the issue of human
safety, was not raised by any evidence the US offered, at the very least this Court
should vacate the injunction and give Texas a chance to correct the district court’s
misunderstanding.

III. Even If the US Could Somehow Satisfy Winter, the District Court
     Here Distorted the Law of Preliminary Injunctions.
    Disregarding Texas’s evidence foreclosing injunctive relief, the district court
went outside the record to find facts of its own. In the process, it also turned the
“extraordinary remedy” of a preliminary injunction into a remedy that need not
even meaningfully engage with the plaintiff’s theory of harm.

    A. The district court imagined evidence that was not there and ig-
       nored the evidence Texas introduced.
    Despite holding a preliminary-injunction hearing, the district court made clear
that it was not content to rest on the evidence the parties adduced. Throughout its
opinion, the court took “judicial notice” of extra-record assertions—some of which,
are just plain false. See ROA.965-66 n.2, 976-77, 986-87 & n.19, 1003.
    For example, the district court felt comfortable repeating a false claim that the
buoy system has killed people: Pointing to humanitarian concerns about “possible

loss of life,” the district court ruminated that “such harm may have already come to
bear, given the discovery of two bodies near the buoy system in August 2023.”
ROA.1002-03. News reports and rumor, see, e.g., Comunicado No. 309, Secretaría
de Relaciones Exteriores, Gobierno de Mexico (Aug. 2, 2023), https://ti-
nyurl.com/4wp43rtn, are no substitute for sworn testimony. Uncontradicted



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testimony confirmed that the buoys are under constant surveillance, and that no one
has been harmed trying to cross them. ROA.326-28. A careful reader of news reports
could have learned that the deceased individuals tragically drowned miles upstream
before floating into the buoy system.
    To take another example, the district court made predictions about near-term

rainfall in Texas to bolster its prediction that this dry riverbed could someday be
made navigable by “El Nino.” ROA.977. But the US produced no meteorologist to
testify about weather patterns, and no limnologist to testify about how the Rio
Grande’s water levels might change.
    Similarly, when forced to acknowledge the epidemic of dangerous drugs flowing
across the border, the district court took “judicial notice” of the notion that most
illegal drugs cross at ports of entry. ROA.966-67. But it never stopped to consider
how the need to divert law-enforcement resources to illegal river crossings has re-
duced the ability to detect drug smuggling at ports of entry.

    At the same time, the district court refused to allow Texas to put some facts into
the record and ignored other facts the State managed to introduce. The Court never
once acknowledged that the US’s “current” boundary line is invalid under control-

ling treaties. ROA.986-87 n.19. It refused to let Texas introduce evidence of how the
public interest is served by measures the State has taken. ROA.995 n.28. What’s
worse, it then faulted the State for not “present[ing] any credible evidence” with

respect to those benefits that it was prevented from discussing at the preliminary-
injunction hearing. ROA.1004. Nor is it true that “those topics were beyond the
[US] witness’s knowledge.” ECF 30 at 25. After all, the US tendered Ms. Quam as

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the authority on US-Mexico relations and “basically anything that impacts the border
itself.” Tr. 57-61.

    B. Awarding an injunction that in no way addresses the plaintiff’s
       purported injury attests to the absence of irreparable harm.
    Finally, the district court’s own injunction demonstrates that the US’s claims
need not be taken seriously. As the plaintiff here, the US had to show it would suffer
irreparable harm absent a preliminary injunction. Winter, 555 U.S. at 20. And a court
issuing an injunction must be careful to tailor the relief so that it is “no more burden-
some to the defendant than necessary” to remedy the plaintiff’s injury. Califano v.
Yamasaki, 442 U.S. 682, 702 (1979). The US in this case claimed it was irreparably

harmed by the very presence of the buoys in the water and the “humanitarian
threat” they pose for as long they remain there.
    The district court’s injunction, however, permits the buoys to remain in the wa-
ter and does not order their “removal entirely from the river.” ROA.1006 & n.32. It
therefore invites the very harms that the US says entitled it to a preliminary injunc-
tion in the first place. The fact that the district court never saw fit to fix those
“harms” is good evidence they are illusory. Perhaps it is unsurprising that, in oppos-
ing a stay, the US has shifted its claim of purported harms by noting that Mexico has
spoken approvingly of the district court’s injunction. ECF 30 at 28. The US’s real
injury, it seems, is any impediment to President Biden’s desire to sell border States
down the river to appease America’s treaty-flouting neighbor. That “harm” pales in
comparison when balanced against Texas’s bona fide public interest concerns and

the broader equities that Texas’s border efforts seek to secure. Supra Part II.B-C.


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                                 Conclusion
   The Court should reverse the order granting a preliminary injunction.

                                     Respectfully submitted.

                                     /s/ Lanora C. Pettit
Ken Paxton                           Lanora C. Pettit
Attorney General of Texas            Principal Deputy Solicitor General
                                     Lanora.Pettit@oag.texas.gov
Brent Webster
First Assistant Attorney General     Ari Cuenin
                                     Deputy Solicitor General

                                     Coy Allen Westbrook
                                     Assistant Attorney General

Office of the Attorney General       Munera Al-Fuhaid
P.O. Box 12548 (MC 059)              Assistant Attorney General
Austin, Texas 78711-2548
Tel.: (512) 936-1700                 Counsel for Defendants-Appellants
Fax: (512) 474-2697




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                                      /s/ Lanora C. Pettit
                                      Lanora C. Pettit

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                                      /s/ Lanora C. Pettit
                                      Lanora C. Pettit




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